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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-cv-21287-ALTMAN/Reid

  ABIGAIL VELEZ,

          Plaintiff,
  v.

  D NAKAMA FACTION CORP, et al.,

        Defendants.
  _________________________________________/

                        ORDER REQUIRING SCHEDULING REPORT
                       AND CERTIFICATES OF INTERESTED PARTIES

          The parties are directed to prepare and file a joint scheduling report, as required by Local Rule

  16.1, by October 22, 2021. In addition, by October 22, 2021, the parties, including governmental

  parties, must file certificates of interested parties and corporate disclosure statements that contain a

  complete list of persons, associated persons, firms, partnerships, or corporations that have a financial

  interest in the outcome of this case, including subsidiaries, conglomerates, affiliates, parent

  corporations, and other identifiable legal entities related to a party. Throughout the pendency of the

  action, the parties are under a continuing obligation to amend, correct, and update the certificates.

          DONE AND ORDERED in Miami, Florida this 4th day of October 2021.




                                                             ________________________________
                                                             ROY K. ALTMAN
                                                             UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
